                      Case 2:11-cr-00327-JCM-CWH           Document 163        Filed 06/04/15      Page 1 of 2



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                 4                                  UNITED STATES DISTRICT COURT
                 5                                          DISTRICT OF NEVADA
                 6                                                     ***
                 7       UNITED STATES OF AMERICA,                             Case No. 2:11-CR-327 JCM (CWH)
                 8                                             Plaintiff(s),                      ORDER
                 9                 v.
               10        MICHAEL PAUL MATULICH,
               11                                            Defendant(s).
               12
               13              Presently before the court is the parties’ stipulation to stay proceedings regarding
               14       defendant’s motion for a sentence reduction.1 (Doc. # 161). The parties ask the court to defer its
               15       decision on a sentence reduction for this defendant for two years, until May 2017, to allow the
               16       defendant an opportunity to improve his custody record.
               17              On November 26, 2014, the defendant filed a pro se motion to appoint counsel to assist
               18       him in filing a motion for a sentence reduction pursuant to Amendment 782 of 18 U.S.C. §
               19       3582(c)(2). (Doc. # 155). On December 5, 2014, pursuant to the District of Nevada’s protocol for
               20       discretionary sentence reductions, the court entered an order appointing the federal public defender
               21       as counsel to represent the defendant. (Doc. # 158).
               22              In accordance with the protocol, the court’s order appointing counsel provided 120 days
               23       for the federal public defender to file any appropriate motion or stipulation. (Doc. # 158). The
               24       parties now seek to delay the deadlines imposed in the court’s order. (Doc. # 161).
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                                  While the parties’ stipulation references defendant’s motion for a sentence reduction,
               27       defendant has not yet filed a motion for a sentence reduction. The parties are actually stipulating
                        to an extension of the deadlines set forth in the court’s order appointing counsel, which provided
               28       that the federal public defender must file a motion or stipulation for a sentence reduction within
                        120 days of the court’s order. (Doc. # 158).
James C. Mahan
U.S. District Judge
                    Case 2:11-cr-00327-JCM-CWH           Document 163        Filed 06/04/15      Page 2 of 2



                1             The parties represent that defendant has been involved in disciplinary incidents and has
                2     incurred sanctions while in custody. Therefore, probation and the government are not prepared to
                3     recommend that defendant receive a sentence reduction at this time. However, the government
                4     states that it may be willing to recommend a sentence reduction in the future, if the defendant
                5     avoids committing any violations for the next two years. (Doc. # 161).
                6             The parties note that deferring any decision on a sentence reduction for this defendant will
                7     not prejudice the defendant. According to the parties, even if defendant is granted a sentence
                8     reduction, his estimated release date will be in January 2024. (Doc. # 161).
                9             Having considered the foregoing, the court will grant the parties’ stipulation and defer
              10      consideration of a sentence reduction for this defendant until May 2017.            If appropriate,
              11      defendant’s counsel shall file a motion for a sentence reduction on defendant’s behalf in advance
              12      of that date.
              13              Accordingly,
              14              IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the parties’ stipulation
              15      to stay proceedings regarding defendant’s motion for a sentence reduction, (doc. # 161), be, and
              16      the same hereby is, GRANTED.
              17              IT IS FURTHER ORDERED that all proceedings and deadlines for filing a motion for a
              18      sentence reduction as to this defendant, be, and the same hereby are, STAYED until May 2017.
              19              DATED June 4, 2015.
              20                                                    __________________________________________
                                                                    UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                   -2-
